Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 1 of 17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 2 of 17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 3 of 17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 4 of 17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 5 of 17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 6 of 17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 7 of 17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 8 of 17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 9 of 17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 10 of
                                       17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 11 of
                                       17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 12 of
                                       17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 13 of
                                       17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 14 of
                                       17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 15 of
                                       17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 16 of
                                       17
Case 0:05-cv-60985-JJO Document 264-2 Entered on FLSD Docket 06/01/2007 Page 17 of
                                       17
